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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION


   JAMES HAUGEN, on behalf of himself,            )
   and all other plaintiffs similarly situated,   )
   known and unknown,                             )
                                                  )
                     Plaintiff,                   )   No. 18-cv-07297
                                                  )
                        v.                        )
                                                  )   Honorable Judge Elaine E. Bucklo
   ROUNDY’S ILLINOIS, LLC D/B/A                   )
   MARIANO’S                                      )
                                                  )
                   Defendant.                     )



                     CONSENT TO JOIN FLSA COLLECTIVE ACTION

         Pursuant to 29 U.S.C. § 216(b), I hereby consent to being a Party Plaintiff in a case against
Roundy’s Illinois, LLC (a/k/a Mariano’s) to recover back wages arising from violations of federal,
state and local wage and hour laws, known as Haugen et al. v.Roundy’s Illinois, LLC., Case No.
18-CV-07297, currently pending before the United States District Court for the Northern District
of Illinois. I authorize the filing of this Consent and pursuit of claims in my name and on my behalf
against Roundy’s for its alleged failure to pay wages and overtime as required under federal, state
and local law as alleged.


       Maria Qazi
NAME: ________________________________________

                      11/26/2016
DATES EMPLOYED: START __________________                          August 2017
                                                             END:______________________

                    Elmhurst Location
LOCATION EMPLOYED: ___________________________________________________



                                                                                    __________

                                                                                    _________

YOUR SIGNATURE: _________________________________                           1/21/2020
                                                                      DATE:______________


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